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 10 Attorneys for Plaintiff
    TRISH HERREMANS, individually, and on behalf
 11 of a class of similarly situated individuals
 12
                               UNITED STATES DISTRICT COURT
 13
                   CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 14
 15
    TRISH HERREMANS, individually, and              )   NO. CV 14-2363-GW(PJWx)
 16 on behalf of a class of similarly situated      )
    individuals,                                    )   Assigned for All Purposes to
 17                                                 )   the Honorable George H. Wu
                 Plaintiff,                         )
 18                                                 )
          v.                                        )   Courtroom 10
 19                                                 )
    BMW OF NORTH AMERICA, LLC,                      )
 20                                                 )   Date Action Filed: March 27, 2014
                 Defendant.                         )
 21                                                 )   FINAL APPROVAL ODER AND
                                                    )   JUDGMENT AND AWARD OF
 22                                                 )   ATTORNEYS FEES, COSTS, AND
                                                    )   PROPOSED ENHANCEMENT
 23                                                 )
                                                    )
 24
 25            This matter comes before the Court on Plaintiff’s Motion for Final Approval
 26 of the proposed settlement reached in this class action proceeding, and for an award
 27 of attorneys’ fees, costs, and a class representative enhancement for the named
 28 Plaintiff. The Court’s role in reviewing the proposed settlement is to determine
                                                 -1-

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  1 whether, under all the circumstances, the settlement is fair, reasonable and adequate.
  2            Defendant BMW of North America, LLC, has taken the steps required to
  3 notify the Settlement Class of the proposed settlement in accordance with the Court’s
  4 Order of March 18, 2016. The Court finds that the notice given, including individual
  5 notice to current and former owners and lessees, constitutes reasonable and adequate
  6 notice to the Settlement Class and the best notice practicable under the
  7 circumstances.
  8            The Court held a hearing on the proposed settlement on November 28, 2016,
  9 which was made known to members of the Settlement Class through the notice
 10 procedures employed by the parties. The Court provided at that hearing an
 11 opportunity for all interested parties to be heard. There were no objections to the
 12 settlement and 112 individuals opted out of the settlement in a timely fashion.
 13            The Court has determined, on the basis of the foregoing, and all other relevant
 14 materials filed in this action and the record herein, that the proposed settlement is a
 15 fair, reasonable and adequate compromise of the claims and defenses asserted in this
 16 action, and should therefore be approved pursuant to Federal Rule of Civil Procedure
 17 23(e), and that Plaintiff’s application for an award of fees, costs, and an enhancement
 18 award to the named Plaintiff is reasonable and should be approved.
 19            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
 20 DECREED THAT:
 21            1.          The Class Action Settlement Agreement and the settlement
 22 embodied therein, is approved as fair, reasonable, and adequate;
 23            2.          The certification of the Settlement Class as defined in this court’s
 24 order of March 18, 2016 (Docket 66, ¶ 2) is hereby confirmed for purposes of the
 25 settlement of this Action;
 26            3.          The Court hereby approves the form and manner of disseminating
 27 the settlement Notice to the Class Members as set forth in the Agreement and finds
 28 that the Notice given was accomplished as provided for by the Agreement and
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  1 constitutes the best notice practicable under the circumstances, and constitutes valid,
  2 due, and sufficient notice to Class Members in full compliance with the requirements
  3 of applicable law, including the Due Process Clause of the United States
  4 Constitution;
  5            4.              The court finds that the Representative Class Plaintiff and Class
  6 Counsel have fairly and adequately represented the interests of the Settlement Class
  7 members at all times in the action;
  8            5.        Settlement Class members who have not timely requested exclusion
  9 from the Settlement Class and any of their predecessors, successors, representatives,
 10 parent companies, subsidiaries, affiliates, heirs, executors, administrators, attorneys,
 11 successors, and assignees are hereby enjoined and barred from instituting, filing,
 12 commencing, prosecuting, maintaining, continuing to prosecute, directly or
 13 indirectly, as an individual or collectively, representatively, derivatively, or on behalf
 14 of them or in any other capacity whatsoever, any action in any state or federal court
 15 or any other tribunal, forum, or proceeding of any kind against the Released Parties
 16 that asserts any of the Released Claims as set forth in the Agreement;
 17            6.        BMW is hereby discharged from all further liability for the Released
 18 Claims to Settlement Class members;
 19            7.        Counsel for Plaintiff’s application for an award of fees and costs of
 20 $692,500 is fair and reasonable and is hereby granted, subject to the fee division
 21 agreement of counsel;
 22            8.        The request for an enhancement award to the named Plaintiff of $2,500
 23 is fair and reasonable and is hereby granted.
 24            9.        The Action is hereby dismissed with prejudice;
 25            10.       The Court reserves jurisdiction over this case for the limited purpose of
 26 administering the settlement, enforcing the settlement, and related matters; and
 27 ////
 28 ////
                                                      -3-

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  1            11.       The Clerk shall promptly enter this Order as a Final Judgment in the
  2 docket of this action.
  3 Dated: November 28, 2016
                                                     GEORGE H. WU, U.S. District Judge
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